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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CHRISTIE TARSA, and SARAH TRATTNER,
Individually, and on Behalf of All Others
Similarly Situated;

      Plaintiff,                             COLLECTIVE & CLASS ACTION

v.                                           CASE NO.: 1:19-cv-02684-WMR


MARKETSOURCE, INC., and AMERICAN
HONDA MOTOR COMPANY, INC.

     Defendants.
____________________________________/

     FINAL ORDER APPROVING CLASS AND COLLECTIVE ACTION
      SETTLEMENT AND DISMISSING CLAIMS WITH PREJUDICE

      WHEREAS, after a full final approval and fairness hearing, and having

reviewed the settlement memorialized in the Settlement Agreement entered into by

and between Defendants MarketSource, Inc. (“MarketSource”) and American

Honda Motor Company, Inc. (“Honda”), and Plaintiffs Christie Tarsa and Sarah

Trattner attached to Plaintiffs’ Unopposed Motion for Preliminary Approval of the

Class and Collective Action Settlement (the “Settlement Agreement”), and seeing

no objections otherwise, the Court concludes that the Settlement Agreement and

settlement terms are fair, reasonable, and adequate, and the Court rules as follows:




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IT IS HEREBY ORDERED THAT:

      1.    For settlement purposes, the following class is finally certified as a

collective action under 29 U.S.C. 216(b) of the Fair Labor Standards Act:

      All persons who are or were employed by MarketSource under the job
      titles of Honda Zone Recall Specialist, Product Event Specialist, Recall
      Coordinator, or any other title used to describe the same position at any
      time from July 5, 2016, to the date of this Order (the “FLSA Settlement
      Class”).

      2.    For settlement purposes, the following class is finally certified as a class

action under Federal Rule of Civil Procedure 23:

      All persons who are or were employed in California by MarketSource
      under the job titles of Honda Zone Recall Specialist, Product Event
      Specialist, Recall Coordinator, or any other title used to describe the
      same position at any time from July 5, 2015, to the date of this Order
      (the “California Settlement Class”).

      3.    Christie Tarsa and Sarah Trattner             are appointed as Class

Representatives for the California Settlement Class.

      4.    Feldman Law Group is appointed as Class Counsel for the California

Settlement Class.

      5.    The settlement memorialized in the Settlement Agreement is approved

and binding on all California Settlement Class members who did not timely opt out

of the class and on all FLSA Settlement Class members either who submitted a claim

form or for whom a consent to join the action was filed by Class Counsel

(collectively, the “Participating Class Members”).


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      6.    The following claims are dismissed with prejudice:

      (1) For California Settlement Class Members who consent to opt in to
      the FLSA collective action as evidenced by the California Settlement
      Class Members’ signatures on the back of checks with the opt-in
      language, all claims, demands, rights, liabilities, and causes of action
      that were or could have been asserted for all federal and California state
      wage-and-hour claims against Defendants based on the allegations in
      the Third Amended Complaint including, but not limited to, the Fair
      Labor Standards Act, as amended, 29 U.S.C. §§ 201 et seq., and any
      wage and hour claims under state or federal law from July 5, 2015, to
      May 8, 2020 including, but not limited to, claims for unpaid wages for
      all hours worked, including claims for unpaid minimum wage, overtime
      pay, unrecorded off-the-clock hours, call in pay, reporting time pay,
      waiting time pay, split shift pay, premium pay for meal and rest breaks,
      and reimbursement of expenses; (2) for California Settlement Class
      Members who do not consent to opt in to the FLSA collective action,
      all claims, demands, rights, liabilities, and causes of action that were or
      could have been asserted for all California state wage-and-hour claims
      against Defendants based on the allegations in the Third Amended
      Complaint including but not limited to any wage and hour claims under
      state law from July 5, 2015, to May 8, 2020, including, but not limited
      to, claims for unpaid wages for all hours worked, including claims for
      unpaid minimum wage, overtime pay, unrecorded off-the-clock hours,
      call in pay, reporting time pay, waiting time pay, split shift pay,
      premium pay for meal and rest breaks, and reimbursement of expenses;
      and (3) for FLSA Settlement Class Members who did not work for
      MarketSource in California, all claims, demands, rights, liabilities, and
      causes of action that were or could have been asserted for all federal
      and state wage-and-hour claims against Defendants, including, but not
      limited to, the Fair Labor Standards Act, as amended, 29 U.S.C. §§ 201
      et seq., and any similar claims under state or federal law from July 5,
      2016, to May 8, 2020 (collectively, the “Released Claims”).

      7.    Participating Class Members are permanently barred and enjoined from

filing or prosecuting against Defendants, any claims according to the applicable

releases described in this Settlement Agreement;


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      8.     Plaintiffs’ claims under the California Private Attorneys General Act

asserted in Plaintiffs’ Third Amended Complaint for the period from November 12,

2018, through the date of this Order are dismissed with prejudice.

      9.     Defendants are forever discharged from all released claims; and

      10.    Plaintiffs/Class Counsel is awarded $970,000.00 in attorneys’ fees and

$1,550.00 in costs and expenses and the Class Representatives and Named Plaintiffs,

Christie Tarsa and Sarah Trattner are awarded $7,500.00 each as service awards, to

be paid from the Gross Settlement Fund of $3,250,000.00.

      11.    This Court shall retain jurisdiction of this action for purposes of

overseeing and enforcing the terms of the settlement for a period of sixty (60) days.

      12.    Defendants shall remit to the Settlement Administrator the Gross

Settlement funds, less the amounts allocation allocated for Individual Settlement

Awards to any Non-participating Class members.

              SO ORDERED, this 12th day of August, 2020.




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